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                  EXHIBIT H
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Franklin K. Miller, PhD.
1625 Moline Street
Stoughton, WI 53589
Email: fkmiller@wisc.edu
Telephone:608-263-2479

November 20, 2020

John J. Duffy
Swanson Martin & Bell, LLP
330 North Wabash Avenue
Suite 3300
Chicago, IL 60611

Re: Case No. 3:18-cv-01586-JSC

Dear Mr. Duffy,

You have retained me in the above referenced lawsuit. I prepared the following report
summarizing my analysis and opinions in this matter and the bases thereof. Appendix A is a copy
of my Curriculum Vitae and a list of my publications for the last ten years (and earlier). Appendices
B, C, and D of this Report identify the case specific materials, reference materials, and data relied
upon to form my opinions. I have not testified in any matter in the last four years.

The Complaint alleges that Plaintiffs sustained harm as a result of an incident in which a cryogenic
storage tank, manufactured by Chart and located at Pacific Fertility, Pacific MSO, and Prelude’s
San Francisco facility, lost liquid nitrogen. The tank at issue (“Tank 4”) is a Chart MVE 808AF-
GB stainless steel freezer (Serial No. CAB2112020013). The claims against Chart include
products liability, negligent failure to recall, failure to warn, manufacturing defect, and design
defect.

                                 SECTION I
                  SUMMARY OF BACKGROUND AND QUALIFICATIONS

I have an engineering background and expertise in cryogenic systems and pressure vessel design.1
I am an Associate Professor in the Mechanical Engineering Department of the University of
Wisconsin – Madison and the Chair of the Mechanical Engineering curriculum committee. I am
a member of the American Society of Mechanical Engineering (ASME) and the Cryogenic Society
of America (CSA). I serve on the boards of the Cryogenic Engineering Conference and the
International Cryocooler Conference.

Prior to joining the faculty at the University of Wisconsin, I worked for NASA at the Goddard
Space Flight Center. My work for NASA included the development of cryogenic thermal control
systems for the James Webb Space Telescope, near absolute zero temperature cooling for
astrophysics detectors, and thermal control systems for long-term space missions. I also served as
1
    Appendix A.

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an expert on several design review panels for systems and missions, which involved review of
designs for mission safety.

I completed my PhD research in the Cryogenic Engineering Laboratory at the Massachusetts
Institute of Technology. Over the past 21 years, I have been involved in the design of several
cryogenic systems. I have also conducted and directed research in the area of cryogenics.

Prior to starting the PhD program at MIT, I worked as the Director of Engineering at a small
electric boiler and pressure vessel manufacturing company. My work included ASME boiler and
pressure vessel design and boiler control systems designed to CSD-1 and UL 834.

                                     SECTION II
                          SUMMARY OF FINDINGS AND OPINIONS

I offer all of my opinions in this report to a reasonable degree of engineering and scientific
certainty. My opinions are based on my education, training, and experience in cryogenics and
cryogenic product design, the manufacture and function of such products, my review and study of
the information provided regarding the circumstances of this incident, my review and study of
materials on the subject MVE 808AF-GB freezer, and the examination and testing of an exemplar.2
My hourly rate is $350.00 for work on this case.

It is my opinion that the subject tank, the MVE 808AF-GB freezer, was not defective or
unreasonably dangerous in either design or manufacture. Any non-functional condition in the
freezer did not cause any alleged damage to the tissue that forms the basis of Plaintiffs’ complaint.
It is also my opinion that Pacific Fertility employees caused the loss of liquid nitrogen cooling in
the tank on March 4, 2018 through careless acts with respect to operation, procedure, and
maintenance of the MVE 808AF-GB freezer (“Tank 4”).

                                     SECTION III
                          THE MVE 808AF-GB FREEZER WAS NOT
                        UNREASONABLY DANGEROUS IN ITS DESIGN

          A. The MVE 808AF-GB

The MVE 808AF-GB is a cryopreservation freezer cooler by liquid nitrogen (LN2). The freezer
is essentially a vacuum insulated tank (dewar) with space to immerse biological material in liquid
nitrogen. The LN2 boils away as heat leaks into the cold space through the insulation system and
through the top when the lid is opened to add or remove material from the tank. As the LN2 boils
away, it is replenished by a control system that automatically opens a valve allowing LN2 to flow
into the freezer from a LN2 supply dewar connected to the freezer by a piping system. A control
system automatically maintains the LN2 level between low and high fill levels that the end user
programs. The control system also has a low-level alarm that sounds when the LN2 level drops
below a value set by the end user. Additionally, the control system calculates the rate of LN2 use,
in units of inches per day, to allow the end user to monitor the performance of the freezer insulation
system.
2
    Appendices A - C.

                                                  2
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        B. Fail-Safe Design

Engineers practice fail-safe design where, if you have a specific type of failure, the product
inherently responds to cause minimal or no harm to other equipment or to people. When engineers
design a system to be fail-safe, failure is neither impossible nor improbable. The system's design
prevents or minimizes unsafe outcomes of its failure. Thus, if a portion of a fail-safe product fails,
it remains at least as safe as it was before the failure.

        C. Chart Employed a Fail-Safe Design for the MVE 808AF-GB.

Chart designed the MVE 808AF-GB as a dewar with a computer controller, the TEC 3000. The
two worked together to keep samples at cryogenic temperatures. The dewar maintains temperature.
The controller aided the dewar by monitoring liquid nitrogen (“LN2”) level, temperature, LN2
usage, and other conditions.

The controller initiates a fill cycle when it observes conditions that are outside of the pre-
programed ranges for temperature and LN2 level. In a fill cycle, the solenoid valve opens to add
LN2 to the dewar and maintain the temperature and LN2 level. The controller sounds an audible
alarm if it observes the temperature rising, LN2 level falling, or LN2 usage increasing beyond
desired levels. If the end user does not address the audible alarm, the controller signals a dialing
device to notify the end user, via call or text, to check on the freezer and its samples.

The MVE 808AF-GB contained a fail-safe design to alarm and issue signals, including calling the
end user, in the event of low LN2 level, an increase in LN2 usage, and/or a rise in temperature.
The fail-safe design, thus, warned the end user to remedy the condition and protect the tank’s
samples.

        D. Dr. Conaghan Disabled Chart’s Fail-Safe Design, thereby misusing its Product.

Dr. Conaghan unplugged the MVE 808AF-GB on February 15, 2018.3 By unplugging the MVE
808AF-GB, Conaghan disabled three key components of the dewar’s fail-safe design: filling,
monitoring, and alarming. Pacific Fertility laboratory personnel admitted that, by unplugging the
freezer, Dr. Conaghan transferred responsibility for filling and monitoring to human beings
(specifically, the lab personnel), not the MVE 808AF-GB.4

        E. Dr. Conaghan also misused the MVE 808AF-GB by Plugging in the Controller
           only to Initiate Fill Cycles.

Between February 15, 2018 and March 4, 2018, Dr. Conaghan also misused the MVE 808AF-GB
by ordering his subordinates to plug in the controller in only to initiate a fill cycle. Dr. Conaghan’s
decision to operate the freezer without a working controller placed the tissue in Tank 4 at an
increased risk of loss compared to tissue stored in tanks with fully operating controllers.


3
 Conaghan Dep. (October 9, 2019), 79:15-20.
4
 Conaghan Dep. (September 9, 2020), 157:13-19. Cirimele Dep. (August 31, 2020), 44:6-10. Fischer Dep., 264:11
25.

                                                      3
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Specifically, unplugging the controller eliminated the following critical safety and fail-safe control
capabilities:

                   1. Automatic Liquid Nitrogen Level Control

The controller monitored LN2 levels through pressure sensors in the dewar that relayed signals to
the controller. If the LN2 level fell below the set low limit, the controller would signal the solenoid
valve to open and allow LN2 to flow into the dewar, thereby raising the LN2 level and dropping
the temperature.

                   2. Low Liquid Level and High Temperature Warnings and Alarms

Even if the automatic fill system stopped filling due to supply issues, alarms would have alerted
staff that the level was low. Per Dr. Conaghan, the Tank 4 controller triggered the low-level
audible alarm when the liquid level was sufficient and insufficient. Although an audible false low-
level alarm may have been inconvenient to the laboratory personnel, it did not put the tissue in
danger of exposure to high temperatures due to low LN2 levels. Dr. Conaghan disabled the low-
liquid level alarm monitoring when he unplugged the controller and continued to operate Tank 4
without the device.

                   3. High Liquid Nitrogen Consumption Warning Capability to Indicate
                      Vacuum Integrity Degradation



                                                                     The lab staff would likely
have seen degradation in the LN2 use rate as the vacuum slowly degraded before March 4, 2018.

                   4. Lab Personnel Phone Notification System

Even if a full vacuum failure occurred in the middle of the night, the phone notification system
known as “Sensaphone” would have alerted the lab personnel to low-level conditions with
adequate time to transfer the Tank 4 tissue to the backup tank.

The manual safety protocol implemented by the laboratory was insufficient for two reasons:

      1) Dr. Conaghan’s manual safety protocol was insufficient because it did not provide
         monitoring and alarm capabilities equivalent to those provided by a repaired or new
         controller. As a result, the safety of the tissue in Tank 4 was compromised.

      2) Additionally, the manual monitoring protocol was not well implemented and monitored.
         Lab personnel admitted that not everyone manually measured LN2 levels and logged them
         into Reflections.5 Dr. Conaghan even admitted that his subordinates’ failure to measure
         and chart LN2 levels in Reflections (the software used to record LN2 measurements)


5
    Cirimele Dep. (August 31, 2020), 76:17 23.

                                                  4
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        violated his lab’s quality control policies.6 The poor implementation of laboratory protocol
        further compromised the safety of the tissue in Tank 4.

        F. Dr. Conaghan should have repaired or replaced the controller. If he had done so,
           it is more likely than not that the controller would have alerted Dr. Conaghan and
           the lab personnel to the slow vacuum seal loss in the dewar, thereby preventing
           any damage to the samples.

As noted above, if the Pacific Fertility laboratory repaired or replaced the controller, the fail-safe
features in Chart’s design would have filled Tank 4 with LN2, alarmed when the temperature rose
and/or LN2 level dropped, and called lab personnel if they failed to remedy the alarm conditions.

In 2011, Dr. Conaghan personally experienced a loss of vacuum seal in a dewar (“Tank 1”) and
the corresponding controller alarms.7 In that instance, as Tank 1 lost vacuum, the MVE controller
continued to fill with LN2. As a result, Dr. Conaghan was able to preserve the samples by removing
them from Tank 1 and placing them in a backup freezer.8 When asked about this incident, Dr.
Conaghan provided the following testimony:

        Q:      “What tanks do you have a recollection of thawing out prior to the incident on
                March 4?
        A:      “We had a tank failure back in 2011, and we thawed out that tank after we had
                removed its contents.”9

        Q:      “How were you alerted about the issue with the problems with Tank 1 back in
                2011?”
        A:      “We saw ice on the outside of the tank.”
        Q:      “Anything else?”
        A:      “The auto fill for the tank was running continuously.”10

        Q:      “What level [liquid nitrogen] was in there to your memory?”
        A:      “The level inside the tank was normal. I can’t testify to how many inches were
                there?”
        Q:      “But it was not an abnormal level?”
        A.      “No.”11

Dr. Conaghan’s testimony demonstrates his first-hand knowledge that a tank failure was a
possibility. It also demonstrates his knowledge that the controller is key to saving samples in such
a situation. The Tank 1 controller kept the tissue immersed in liquid nitrogen during the 2011
incident. Despite this knowledge, Dr. Conaghan failed to promptly repair and/or replace the Tank
4 controller. If he had replaced or serviced the controller, the autofill would have kept Tank 4 filled

6
  Conaghan Dep. (September 9, 2020), 74:2-8.
7
  Conaghan Dep. (September 9, 2020), 25:17-20; 26-28
8
  Conaghan Dep. (September 9, 2020), 28:15-23
9
  Conaghan Dep. (September 9, 2020), 25:17-20.
10
   Conaghan Dep. (September 9, 2020), 26:3-7.
11
   Conaghan Dep. (September 9, 2020), 28:8 12.

                                                       5
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on March 4, 2018, even if the LN2 usage rate was high. Additionally, at the time of the Tank 4
incident, Dr. Conaghan had a fully functional backup tank readily available at Pacific Fertility
Center.12 Yet, Dr. Conaghan still decided to use Tank 4 without a controller.

                                      SECTION IV
                            CHART DID NOT MANUFACTURE AN
                         UNREASONABLY DANGEROUS MVE 808AF-GB

         A. Pressure Vessel Design and Vacuum-Insulated Cryogenic Tank Design

I am very familiar with design to ASME boiler and pressure vessel code.13 I am also familiar with
the requirements for quality management, including material certification, welder qualification,
non-destructive evaluation, and the hydrostatic pressure testing that are required to manufacture
and certify ASME vessels.14 The quality of an ASME stamped pressure vessel is verified by
nondestructive evaluation of the welds and by hydrostatic proof testing. Pressure vessels are
designed to withstand high pressure and have very high safety factors inherent in both the
maximum allowable stress values for the material and the required wall thickness and weld
dimension equations.

Vacuum vessels are not manufactured to conform to ASME code.15 Cryogenic vacuum insulated
vessel designs are usually optimized to maximize thermal performance. This pushes the design
toward thin wall materials with low thermal conductivity. Thin wall stainless steel or low
conductivity composites such G10 fiberglass are often used. The thin stainless-steel neck and
inner wall of the MVE 808AF-GB is an example of good cryogenic vessel design. Additionally,
because the walls of the vessel are very thin, the welds are typically designed to be seal welds. The
measure of quality for vacuum vessel construction including welds is the helium leak rate. The
instrument used to verify the integrity of the vacuum vessel as manufactured is the helium mass
spectrometer leak detector. If the welds of a vacuum insulated cryogenic tank pass a mass
spectrometer leak test, they are considered to be good welds.

         B. The Seal Welds Used in the MVE 808AF-GB were Reasonably Safe

                                                                Vacuum-insulted cryogenic tanks
do not need full penetration welds. Unlike boilers, which I have designed and worked with,16
vacuum-insulted cryogenic tanks are not pressure vessels. Only those vessels need full penetration
welds.



12
   Conaghan Dep. (September 9, 2020), 18:17-19.
13
   See Appendix A. I worked for four years as a design engineer and director of engineering at an electric boiler and
pressure vessel manufacturer after finishing my MS in Mechanical Engineering. I continued to work for that
company as a consultant until 2017. I consulted on issues related to ASME code compliance and pressure vessel
design.
14
   See Footnote 13.
15
   Since completing my Ph.D., I have designed and procured several vacuum insulated cryogenic vessels both at
NASA and at the University of Wisconsin – Madison.
16
   See Footnote 15.

                                                          6
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        C. Pacific Fertility Expert Spoliation of Evidence

In March of 2018, Pacific Fertility experts from Exponent inspected the freezer.22 Pacific Fertility
neither advised nor invited to the inspection the patients or Chart and their experts.23 The methods
used during the testing irreversibly altered the condition of Tank 4 and prevented a determination
of its condition prior to the incident on March 4, 2018.24

During this inspection, Exponent engineers sprayed a substance on the subject dewar to run a leak
rate test.25That spray plugged any small leaks that may have existed in the dewar and prevented
me from running a more accurate leak rate test that likely would have uncovered the areas where
the slow leak was in the subject dewar. Additionally, as part of the testing, the fill port cap with an
O-ring was removed before the leak rate test.26 This prevented me from evaluating whether a leak
existed at the O-ring and plug for the fill port.

        D. The MVE 808AF-GB Was Out of Warranty

Cryogenic dewars use seal welds and have a fill port with an O- ring usually made of a polymer.
Over time, dewars vacuum seal degrades. Chart required end users to check the dewar for ice build
up and if it impaired the ability of the user to access and retrieve samples, to thaw the freezer.
(Chart Cryogenic Freezer with MVE TEC 3000 Controllers Technical Manual, p. 114.)(“Check
freezer at a 5 year interval and thaw only if ice builds up enough to impede the proper insertion,
access, and retrieval of samples, and/or the ice effects accurate liquid level reading.”).27



17
   Ingram Dep., 33:11-22. Ingram Dep. Ex. 666, Bates No. CHART070444.
18
   See Chart’s Answers to Plaintiffs Requests for Admission Set 4. See also, Chart’s Answers to Plaintiffs’
Interrogatories Set 6.
19
   Ingram Dep., 35:22-36:5.
20
   Ingram Dep., 50:15-19. Eubanks Dep., 42:9-13.
21
   Ingram Dep., 32:9-13.
22
   See Chart’s Answers to Plaintiffs’ Requests for Admission Set 4. See also, Chart Answers to Plaintiffs’
Interrogatories Set 6.
23
   Id.
24
   Id.
25
   Id.
26
   Kasbekar Dep., 103:12-15; 109:9-110:1.
27
   Chart Cryogenic Freezer with MVE TEC 3000 Controller Technical Manual, Preventative Maintenance Schedule,
pg. 114.

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At the University of Wisconsin, I instruct my graduate students to check the dewars they use for
signs of vacuum seal loss. If a vacuum seal is degrading, they can revac the dewar connecting a
vacuum manifold to the pump-out port and pumping on the vacuum space while blowing warm
air inside the dewar to drive contaminants from the getter material. A high vacuum gauge monitors
the pressure in the vacuum space during the process. The process takes several hours. Once the
revac process is complete, a helium mass spectrometer leak detector is used to test the integrity of
the vacuum. After vacuum integrity is verified, the pump-out port is resealed and the vacuum
manifold is removed.

Chart MVE dewars are under warranty for five years.28 The subject MVE 808AF-GB was sold
to Pacific Fertility in 2011.29 At the time of the incident in March 4, 2018, the dewar was out of
warranty.

                                        SECTION V
                               RECALL FOR CHART ALUMINUM
                             FREEZERS WITH COMPOSITE NECKS



                   I have designed cryogenic systems using both carbon fiber and G10 fiberglass
composites for NASA and for research lab use. Aluminum tanks typically have composite necks
because aluminum has high thermal conductivity and a low thermal conductance neck is needed
to provide a low cryogen boiloff rate. The failure location for the aluminum tanks was the epoxy
joint connecting the aluminum tank components to the composite neck.



                                      The tanks are not substantially similar. The tank recall
does not apply to MVE 808AF-GB tanks and there is no evidence that Chart should have recalled
the MVE 808AF-GB series.

                                         SECTION VI
                                    EXEMPLAR TANK TESTING

As set forth below, my testing disproved Dr. Kasbekar’s conclusions that the MVE 808AF-GB
lost vacuum seal rapidly. It also disproved Jean Popwell’s LN2 measurement of 14 inches on
March 3, 2018.




28
   Bies Dep. (September 18, 2019), 104. Bies Dep. Ex. 38, MVE Cryo Preservation for Life Science, Storage &
Transport Systems for MVE Cryopreservation, pg. 11 (“TWO years parts warranty – FIVE years vacuum
warranty”).
29
   Conaghan Dep. (October 9, 2019), 64:2.
30
   Kasbekar Dep. Ex. 3, Chart Recall Notice.

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     A. Events Before and On March 4, 2018

During his December 13, 2019 deposition, the plaintiffs’ expert, Dr. Kasbekar, asserted that twenty
to thirty liters of nitrogen in liquid form entered the vacuum space during the event.31 The 1.189
kg of zeolite type molecular sieve removed from Tank 4 during the March 11, 202032 inspection
has the capacity to hold approximately 0.2 kg of nitrogen when cooled to approximately -196
degrees C (77.2 Kelvin). (Yang and Burris paper). This corresponds to 175 liters of nitrogen gas
at standard conditions (atmospheric pressure and room temperature). 0.2 kg of nitrogen is
approximately 0.25 liters of nitrogen in liquid state.33 Liquid nitrogen at atmospheric pressure
entering a vacuum through a small hole or crack would immediately flash to vapor due to the
reduced pressure. This gas would expand by a factor of 700 as it became warm when interacting
with the warm outer walls of the tank and the warm layers of the 30-layer insulation blanket.34
This would cause the pressure in the vacuum space to rise to atmospheric pressure and stop the
liquid flow from the tank into the vacuum space long before even one liter of liquid nitrogen could
flow into the vacuum space.

It is my opinion that the following sequence of events led to the loss of liquid nitrogen and the
“implosion” of the inner wall of Tank 4:

     1) On February 15, 2018, the TEC 3000 controller on Tank 4 alarmed indicating a zero liquid
        nitrogen level when the tank was not at zero level. The lab personnel were not able to reset
        the controller or eliminate the alarm condition. Consequently, Dr. Conaghan decided to
        disconnect the power to the controller and implement a procedure for manual level
        monitoring and manual liquid nitrogen fill rather than have the freezer serviced or move
        the tissue to a backup freezer.

     2) Tank 4 at some point had developed a small leak into the vacuum space that was slow
        enough to be managed by the adsorption capacity of the molecular sieve. This is supported
        by testimony from Dr. Conaghan’s testimony that there was no report from anyone in the
        lab that there was visible condensation on Tank 4 or ice around the lid during normal
        operation before or on March 3, 2018 or on the morning of March 4, 2018.35 Tank wall
        condensation and icing, and icing around the perimeter of the tank lid are indicative of full
        vacuum failure as demonstrated by exemplar MVE 808AF-GB tank testing outlined later
        in this report.

     3) This slow leak led to molecular sieve loading with gas over time. This could have
        happened over several days or even weeks.

     4) The tank ran out of liquid Nitrogen on March 4, 2018. This is supported by Dr. Conaghan’s
        testimony that there was one inch of frost on the dipstick when he attempted to measure

31
   Kasbekar Dep., 24:2-4.
32
   Brand Field Notes, March 11, 2020.
33
   Appendix C, Calculations.
34
   Brooks Dep. (January 23, 2020), 29:2-6.
35
   Conaghan Dep. (September 9, 2020), 212:19; 213: 1-2). Conaghan Dep. (October 9, 2019), 115:20 22; 135:21 24;
136:8 9.

                                                      9
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        the liquid level even after the autofill was on for a few minutes. 36 This frost indication
        could have been from the liquid just added to the tank or from the layer of ice at the bottom
        of the tank mentioned in Dr. Conaghan’s testimony and visible in pictures of the tank.37




Figure 1. Photograph of Tank 4 after tissue was removed on March 4, 2018 with ice visible
on the bottom of the tank.

     5) The molecular sieve released gas into the vacuum space as it warmed. My calculations
        indicate that the molecular sieve has the capacity to hold enough Nitrogen at -196° C such
        that the pressure in the vacuum space will exceed 1.74 atmospheres (0.74 atmosphere or
        10.86 psi above ambient pressure) when the tank is warmed to room temperature. The
        partial release of this gas when the tank began to warm caused increased heat conduction
        across the vacuum space to the bottom of the inner tank which was still cold because the
        cold boxes and samples were sitting on the bottom of the tank. This is consistent with Dr.
        Conaghan’s testimony, and those of his lab personnel colleagues, that there was no
        condensation on the walls of the tank but some water under the tank indicating
        condensation on the bottom of the tank.38


36
   Conaghan Dep. (September 9, 2020), 208:16.
37
   Conaghan Dep. (September 9, 2020), 206:17-22; 207:15-208:2. Conaghan Dep. (October 9, 2019), 113:12-24.
38
   Conaghan Dep. (September 9, 2020), 165:13-14. Conaghan Dep. (October 9, 2019), 115:20-22; 135:21-24; 136:8-
9. Popwell Dep., 72:4-5. Han Dep., 19:10 12.

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       6) The rising pressure in the vacuum space caused the neck to begin to deform and squeeze
          the foam neck plug on the lid making the lid difficult to remove when Dr. Conaghan tried
          to open the freezer at 12:20 pm on March 4, 2018.39

           When lab personnel filled the tank with LN2 this reduced the pressure in the vacuum space
           as the molecular sieve began to cool and partially re-adsorb the gas. This halted
           deformation of the inner wall of the tank.

           It is important to note that once some of the gas was released and the molecular sieve was
           no longer cold, the sieve would not be able to re-adsorb all of the released gas and full
           vacuum could not be restored without pumping the system and regenerating the sieve. At
           this point the integrity of the vacuum insulation could not be restored by filling the tank
           with liquid Nitrogen.




Figure 2. Photograph of Tank 4 on March 4, 2018 showing partial deformation of the tank
neck.




39
     Conaghan Dep. (October 9, 2019), 40:15 22.

                                                   11
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   7) Once tissue was transferred and the liquid completely boiled away, the molecular sieve
      warmed thereby releasing all of the absorbed gas. The pressure in the vacuum space rose
      well above the bucking pressure limit for the tank neck and the entire tank “imploded.”

       My calculations show that the pressure required to completely buckle the thin wall neck of
       the tank is less than 6.3 psi above atmospheric pressure. The main cylindrical part of the
       inner wall is thicker and would require less than 7.2 psi above atmospheric pressure to
       buckle. The 1.74-atmosphere absolute pressure (0.74 atmosphere or 10.86 psi gauge
       pressure) resulting from the release of gas from the molecular sieve was more than enough
       to buckle both the neck and the main inner wall of the tank.




Figure 3. Photograph of Tank 4 on March 6, 2018 showing result of implosion/buckling due
to gas released from the sieve as it warmed to room temperature.

   B. MVE 808AF-GB Exemplar Tank Full Vacuum Failure Test

From October 26 to October 28, 2020, I tested an MVE 808AF-GB freezer under conditions that
simulated performance with full vacuum failure. Dr. Kasbekar and Pacific Fertility personnel have
testified that a rapid vacuum seal failure explains why there was no water, moisture, or ice on the


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exterior of the MVE 808AF-GB.40,41 I achieved full vacuum failure by filling the vacuum space
with one atmosphere of Nitrogen gas.

The general test procedure for this test was:

            Fill the MVE exemplar tank to 19 inches and allow the tank to come to thermal
             equilibrium overnight.
            Start the test with approximately 14 inches of LN2 in the tank. This was achieved by
             dipping some LN2 out and allowing the tank temperature to stabilize. The exact
             amount of LN2 in the tank was measured with a dip stick and recorded.
            Attach a vacuum manifold to the pump out port on the bottom of the tank while
             maintaining vacuum inside the vacuum space. This manifold included a pressure
             gauge, a vent valve so the pressure could be maintained at 1 atm, an attachment for
             Nitrogen gas and a pressure regulator.
            Introduce one atm of Nitrogen gas into the vacuum space from the top of a liquid
             Nitrogen supply tank.
            Allow the MVE 808AF-GB freezer to sit with the lid on for twenty-two hours noting
             its appearance and periodically recording its outer surface temperature, LN2 level on
             the controller, and the boiloff rate as calculated by the controller. I chose this period of
             time to coincide with Ms. Popwell’s Reflections measurements on March 3, 2018 of
             14 inches and Dr. Conaghan’s testimony that he discovered the incident midday on
             March 4, 2018.42,43




40
   Kasbekar Dep., 67:19-23; 68:7-18. Deposition Ex. 1, Kasbekar Report, pg. 22-23.
41
   Cirimele Dep. (August 31, 2020), 67:2-8; 69:23; 70:1-6; 72:8-14; 74:9-16; 130:3-6. Fischer Dep., 298:22; 300:24.
Lamb Dep., 28:8-14. Popwell Dep., 32:3; 119:3-10; 121:5-12; 12:2-9; 129:1-7. Han Dep., 19:10-12.
42
   Popwell Dep., 130:2-7. Conaghan Dep. (October 9, 2019), 42:5.
43
   Chart Exhibit 211: entry on March 3, 2018 at 5:39 PM

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Figure 4.




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Figure 5.


On October 26, 2020, I began the test by initiating the fill cycle. At the conclusion of the initial
fill, the controller read an LN2 level of 17.9 inches; however, the physical dipstick measurement
showed an actual LN2 level of 18.75 inches. The controller’s liquid level reading had an error
equal to -0.85 inches.

After the tank equilibrated the following morning, on October 27, 2020, I removed the top and
physically measured a liquid level of 17.75 inches. Liquid dipped from the tank until it measured
approximately 15 inches; the controller, however, read the level as 14.2 inches. Throughout the
testing, the controller readings were consistently 0.7 to 0.85 inches lower than the physical
measurements in the tank.

At 10:00 AM, I disabled the autofill to prevent the tank from routinely filling during the twenty-
two hour boil-off test. I connected the manifold to the pump-out port on the bottom of the tank,
evacuated with a vacuum pump, and pressurized with one atmosphere of nitrogen gas from the top
of an LN2 supply tank.

At 11:10 AM, the valve to the vacuum space opened and nitrogen gas flowed into the vacuum
space. Liquid nitrogen boiled vigorously from the bottom of the tank, evidenced by a high volume
of cold gas venting from the lid. The high boil-off was the result of the high heat load on the
molecular sieve associated with the adsorption of the high flow rate of nitrogen gas entering the
vacuum vessel. I measured the temperature of the outer wall with the three thermocouples depicted

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in Figure 6 as “Top,” “Mid,” and “Bot.” The initial temperature readings were 18.2° C (Top),
21.1° C (Mid), and 20.7° C (Bot).




Figure 6.
                                       s.

At 11:30 AM, approximately twenty minutes after the nitrogen gas was first introduced into the
vacuum space, the wall temperatures were 9.0° C (Top), 11.2° C (Mid), and 8.9° C (Bot).

At 11:32 AM, condensation began to appear on the outside walls of the tank, as shown in Figure
6. Gas continued to flow into the vacuum space. The tank’s pressure was 650 Torr.

At 11:38 AM, the pressure gauge read 750 torr (approximately 1 atmosphere); however, the
pressure gauge reading decreased to 680 torr when I closed the nitrogen supply line and vented the
manifold to the atmosphere. This indicates that the pressure gauge measured 680 torr when the
pressure was actually at one atmosphere with nitrogen gas.

At 11:57 AM, the outside tank wall temperatures were 10.9° C (Top), 6.6° C (Mid), and 2.7° C
(Bot). The outer wall temperature remained near the previously mentioned values for the balance
of the boil-off test.




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Figure 7.




Figure 8.



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By 12:56 PM (1 hour and 46 minutes into the test), condensation was beading and running down
the outer wall of the tank. The controller liquid level read 13.5 inches.

At 1:51 PM (2 hours and 41 minutes into the test), ice was clearly visible on the bottom of the
outer wall of the tank, as shown in Figure 8. Heavy condensation and ice formation continued
throughout the duration of the twenty-two hour test. A large deposit of ice/snow formed on the at
the vent path where the lid intersects the tank, as shown in Figure 10. This ice/snowball also
persisted throughout the twenty-two hour test.




Figure 9.




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Figure 10.


At 4:10 PM, five hours into the test, the LN2 level on the controller read 11.7 inches. This
corresponds to an average boil-off rate equal to 0.5 inches per hour.

At 5:10 AM on October 28, 2020, eighteen hours into the test, the controller liquid level read 5.2
inches. This reading corresponds to an average boil-off rate equal to 0.5 inches per hour. Eighteen
hours represents the period of time between when PFC staff topped off Tank 4 on March 3, 2020
and their return the next morning.44,45 Figure 11 depicts the tank’s condition eighteen hours into
the full vacuum failure test. I observed very visible signs of vacuum failure on and around the tank.
Conversely, per lab personnel, there was no ice around the lid, no condensation or ice on the walls,
no condensation running across the floor, and no plume of cold gas venting into the laboratory on
the morning of March 4, 2018.46




44
   Popwell Dep., 130:2-7. Kasbekar Dep. Ex. 6, pg. 424 (showing fill cycle initiated on 3/3/2018 at 4:07 PM)
Conaghan Dep. (October 9, 2019), 42:5 (discovered incident on 3/4/18 at about 12:20 pm).
45
   Chart Exhibit 211, Reflections Metadata, (showing measurement entered on 3/3/2018 at 5:39 PM).
46
   Conaghan Dep. (October 9, 2019), 115:20-22; 135:21-24; 136:8-9. Popwell Dep., 60:4-6. Han Dep., 19:10 12.

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Figure 11.


At 9:10 AM, twenty-two hours after full vacuum failure, I removed the tank lid and measured the
liquid level using the dipstick. Figure 12 depicts the measured liquid level of 4.0 inches. The
average boil-off rate for this tank was 0.5 inches per hour. Figure 13 shows the condition of the
tank twenty-two hours after full vacuum failure. I allowed the tank to boil-off after the conclusion
of the twenty-two hour test. After twenty-seven hours, the controller liquid level dropped below
2.0 inches. Accounting for the offset of 0.7 inches in the controller reading and extrapolating using
the boil-off rate of 0.5 inches per hour, the tank had some level of liquid nitrogen for at least thirty-
two hours after full vacuum failure.

Summary of test results.
   The tank exhibited plainly visible signs of vacuum failure beginning twenty minutes after
    full vacuum failure, which continued through the termination of the test twenty-two hours
    later. The signs of vacuum failure included heavy condensation, ice formation, ice/snow
    at the vent path, and a visible cold gas plume. The signs of vacuum failure observed during
    the test are inconsistent with the state of Tank 4 on March 3 and 4, 2018.47
   The tank’s boil-off rate remained relatively constant during the course of the test at
    approximately 0.5 inches per hour. This boil-off rate contradicts Jean Popwell’s testimony



47
     Conaghan Dep. (October 9, 2019), 115:20-22; 135:21-24; 136:8-9. Popwell Dep., 60:4-6. Han Dep., 19:10 12.

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           that the tank had 14 inches of LN2 at 2:30 PM on March 3, 201848 and Dr. Conaghan’s
           testimony that the tank had little or no liquid 12:20 PM on March 4, 2018.49




Figure 12.




48
     Popwell Dep., 130:5-10.
49
     Conaghan Dep. (October 9, 2019), 143:2 5.

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Figure 13.
                                .

                                    SECTION VII
             PACIFIC FERTILITY’S HISTORY OF LOW LIQUID LEVEL EVENTS

After review of the Maximum Event Log downloaded from the controller on Tank 4,50 I found the
following:

           Between July 19, 2013 and July 17, 2014, the liquid level fell below 9.0 inches on 80
            occasions.
           On October 30, 2013, the liquid level dropped to 3.0 inches.
           From December 26, 2013 to December 30, 2013, the liquid level remained below 8.0
            inches.
           From December 28, 2013 to December 30, 2013, the liquid level remained below 4.0
            inches.
           On December 30, 2013, the liquid level dropped to 0 inches
           From January 17, 2014 to January 20, 2014, the level again remained below 8.0 inches.
           On January 20, 2014, the level again dropped to 0 inches.

The above-mentioned low-level events occurred before Dr. Conaghan disconnected the controller
on February 15, 2018. Insufficient liquid nitrogen supply from the supply dewar is a likely

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explanation for low liquid level events when the controller was operational. The Pacific Fertility
lab assistants had the responsibility of ordering LN2 supply for the laboratory. 51 Prior to the
incident, the lab assistants did not calculate LN2 consumption.52 Instead, the lab assistants merely
shook the supply tank to gauge whether it was empty or full.53 The LN2 supply can was empty on
at least four or five occasions.54

Although I could not determine the liquid levels in Tank 4 after the controller was disconnected
from power on February 15, 2018, I could estimate the daily fill times from the event log because
it was connected intermittently to enable the autofill feature. The fill times on five of the six days
leading up to the March 4, 2018 event were much longer than historical values. It is likely that
there was an insufficient supply of liquid nitrogen to fill Tank 4 in the days leading up to the March
4, 2018 event.

When the supply tanks connected to the Tank 4 piping system ran out of LN2, they would need to
be replaced with full supply tanks by Pacific Fertility lab staff. Dr. Conaghan testified that this is
not a designated task.55

Despite the fact that the fill times were unusually long for Tank 4 on five of the six days leading
up to the March 4, 2018, Dr. Conaghan and the rest of the Pacific Fertility lab staff did not do an
investigation into the supply of LN2 or verify that the supply tanks connected to Tank 4 were
sufficiently full.56

                                       SECTION VIII
                                   MARCH 4, 2018 LOW LEVEL

It is important to note that, although the level indication went to zero on a few occasions prior to
February 15, 2018, the tank may have still contained LN2 because the level measurement port is
about 2 inches above the bottom. Moreover, the conditions that occurred in Tank 4 on March 4,
2018 were likely different from these previous instances of low LN2 levels. More likely than not,
there was no LN2 left in the tank on March 4, 2018. Two pieces of evidence support this. First,
the bottom of the tank only had ice when Dr. Conaghan measured the liquid level after discovering
the incident. (Conaghan’s second deposition) Second, the neck of the tank had begun to deform
and squeeze the lid plug. (Conaghan’s deposition) This occurred when the sieve temperature began
to rise after all LN2 boiled away from Tank 4.

                     Without liquid nitrogen boiling in the bottom of Tank 4, there was no cold
boil-off gas moving from the bottom of the tank toward the vent to provide vapor cooling for the
contents of the freezer. This subjected the tissue to elevated temperatures that may not have
occurred during the earlier low-level events.



51
   Lamb Dep., 42:3.
52
   Lamb Dep., 42:25.
53
   Lamb Dep., 43:8-12.
54
   Lamb Dep., 48:9-10.
55
   Conaghan Dep. (November 13, 2020), 30:25.
56
   Conaghan Dep. (November 13, 2020), 31:15 22; 35:14 20.

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                                     SECTION IX
                                 SUMMARY OF FINDINGS

   1. When properly maintained and operated, the MVE 808AF-GB freezer is safe in its design
      and manufacture for all reasonably foreseeable uses. The MVE 808AF-GB freezer does
      not possess any design or manufacturing defects. No design or manufacturing defects
      existed in its condition and functionality that resulted in the loss of any tissue and the MVE
      808AF-GB freezer did not possess any defective or unreasonably dangerous conditions
      that caused the loss of tissue.

   2. When Dr. Conaghan unplugged the MVE 808AF-GB on February 15, 2018, he disabled
      Chart’s fail-safe design, thereby misusing its product. Between February 15, 2018 and
      March 4, 2018, Dr. Conaghan also misused the MVE 808AF-GB by ordering his
      subordinates to plug it in briefly only to initiate a fill cycle.

   3. Dr. Conaghan should have repaired or replaced the controller and, had he done so, it is
      more likely than not, the controller would have alerted to the slow vacuum seal loss in the
      dewar, thereby preventing any damage to the samples.

   4. Chart did not manufacture an unreasonably dangerous MVE 808AF-GB. The seal welds
      used in the MVE 808AF-GB dewar were reasonably safe.

   5. The subject MVE 808AF-GB was slowly losing vacuum seal, however, Pacific Fertility
      experts spoliated the evidence during the unilateral March 2018 inspection and test, thereby
      precluding my ability to determine the precise location where the vacuum seal gave way
      on March 4, 2018.

   6. Vacuum-insulated cryogenic tanks lose vacuum seal over time. The subject MVE 808AF-
      GB was out of warranty at the time of the incident.

   7. Chart’s freezer recall does not apply to the subject MVE 808AF-GB. The recalled freezers
      are not substantially similar to the MVE 808AF-GB in material or design.

   8. My testing disproved Dr. Kasbekar’s conclusions that the MVE 808AF-GB lost vacuum
      seal rapidly. My testing also disproved Jean Popwell’s LN2 measurement of 14 inches on
      March 3, 2018.

   9. Tank 4 has a history of low-level events and long fill times prior to February 15, 2018. In
      some instances, the Tank 4 auto fill only delivered approximately one inch of liquid
      nitrogen in one hour. On five of the six days leading up to the March 4, 2018 event, the
      fill times were much longer than historical values. Long fill times tend to prove that there
      is an insufficient supply of liquid nitrogen in the supply Dewar.

I reserve the right to change and supplement my opinions and conclusions following my
examination of any additional case materials presented, including deposition transcripts.



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Respectfully Submitted,




Franklin K. Miller




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Appendix A: Curriculum Vitae for Franklin K. Miller, PhD

Education

B.S. in Mechanical Engineering, West Virginia University, December 1991

M.S. in Mechanical Engineering, West Virginia University, August 1995

Ph.D. in Mechanical Engineering, Minor in Physics, Massachusetts Institute of Technology,
February 2005
Thesis: The Development of a Superfluid Joule-Thomson Refrigerator for Cooling below 1
Kelvin


Professional Society Membership and Board Membership

American Society of Mechanical Engineering

Cryogenic Society of America

International Cryocoolers Conference Board

Cryogenics Engineering Conference Board


Professional/Research Experience

2017 – Present       Associate Professor, University of Wisconsin-Madison

2009-2016            Assistant Professor, University of Wisconsin-Madison

2004-2009            Cryogenic Engineer, NASA Goddard Space Flight Center
                     Development of spaceflight cryogenic systems including systems for the
                     James Webb Space Telescope

1999- 2004           Graduate Research Assistant, Massachusetts Inst. of Technology

1994-1998            Director of Engineering, Reimers Electra Steam, Inc.
                     Responsible for design of pressure vessels and miniature steam boilers.


Honors and Awards

Best paper award in Cryogenics journal, 2014

Best paper award in Cryogenics journal, 2007.

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Invited Talks

Invited seminar presentation at Chinese Academy of Sciences, Beijing, China, May 2019
“Progress on Cryogenic Pulsating Heat Pipes at the University of Wisconsin”

Invited seminar presentation at Chinese Academy of Sciences, Beijing, China, May 2019
“Adiabatic Demagnetization Refrigeration for Space Science Applications”

Invited seminar presentation at Zhejiang University, Hangzhou, China, June 2018
“Progress in Cryogenic Research at the University of Wisconsin”

Invited seminar presentation at Purdue University, January 2016.
“Novel Sub-Kelvin Cooling Techniques for Space Science Applications”

Invited seminar presentation at Georgia Institute of Technology, September 2015.
“Novel Sub-Kelvin Cooling Techniques for Space Science Applications”

Invited seminar presentation at Florida State University, September 2015.
“Novel Sub-Kelvin Cooling Techniques for Space Science Applications”

Invited seminar presentation at Duke University, April 2015.
“Novel Sub-Kelvin Cooling Techniques for Space Science Applications”

Invited talk at the AIAA Aerospace Sciences Meeting, January 2011.
“Development of a Numerical Model for a Superfluid Magnetic Pump for Space Applications”

Invited seminar presentation at Tufts University, November 2010.
“Novel Sub-Kelvin Cooling Techniques for Space Science Applications”

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a GM cryocooler with a mechanically driven displacer”, International Journal of Heat and Mass
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Appendix B: Case Specific Materials Relied Upon

1.    Videos, photos and documents from September 6, 2019, September 30 - October 1, 2019,
      and March 11-13, 2020 inspections.
2.    Transcript of Joseph Conaghan’s deposition and accompanying exhibits from 10/9/2019
3.    Transcript of Joseph Conaghan’s deposition and accompanying exhibits from 9/9/2020
4.    Transcript of Erin Fischer’s deposition and accompanying exhibits
5.    Transcript of Gina Cirimele’s deposition and accompanying exhibits
6.    Transcript of Hana Lamb’s deposition and accompanying exhibits
7.    Transcript of Jean Popwell’s deposition and accompanying exhibits
8.    Transcript of Jeff Brooks’ deposition and accompanying exhibits
9.    Transcript of Ramon Gonzalez’s deposition and accompanying exhibits
10.   Transcript of Justin Junnier’s deposition and accompanying exhibits
11.   Transcript of Brendon Wade’s deposition and accompanying exhibits
12.   Transcript of Jeffery Dresow’s deposition and accompanying exhibits
13.   Transcript of Frank Bies’ deposition and accompanying exhibits
14.   Transcript of Arun Sharma’s deposition and accompanying exhibits
15.   Transcript of Gregory Mueller’s deposition and accompanying exhibits
16.   Transcript of William Pickell’s deposition and accompanying exhibits
17.   Expert Report from Anand Kasbekar
18.   Transcript of Anand Kasbekar’s deposition and accompanying exhibits
19.   Expert Report from Christopher Brand
20.   Transcript of Christopher Brand’s deposition and accompanying exhibits
21.   Christopher Brand File Materials and Notes
22.   Expert Report from Keith Gustafson
23.   Transcript of Keith Gustafson’s depositions and accompanying exhibits
24.   Expert Report from Stephen Somkuti
25.   Expert Report from Heather Huddleston
26.   Expert Report from Nicholas Jewell
27.   Expert Report from Duane Steffey
28.   Expert Report from Shuangee Ma
29.   CHART Recall Notice (CHART000001-6)
30.   Chart Drawings (PROD003) (CHART000061 – CHART000126)
31.   Spreadsheet – Event Log, 10-18-2019
32.   Spreadsheet – Maximum Event Log, 10-18-2019
33.   Data download from MVE TEC 3000 on Tank during full vacuum failure test Oct. 26-29,
      2020
34.   Complaint
35.   Exemplar MVE 808AF-GB
36.   Chart’s Answers to Plaintiffs’ Interrogatories (Set 6)
37.   Chart’s Answers to Plaintiffs’ Requests to Admit (Set 4).

The exhibits I may use to explain or support the opinions expressed at trial include the afore-
mentioned materials along with exemplar dewars, controllers, and liquid nitrogen, and other
demonstrative exhibits.



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Appendix C: References

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 File:C:\EES32\AdsorbGas.EES                                                                           11/1/2020 10:49:32 PM Page 1
         EES Ver. 10.833: #100: For use only by Students and Faculty, College of Engineering University of Wisconsin - Madison
Appendix D: Calculations
               Pressure in vacuum space due to gas desorbed from molecular sieve as Tank 4 warmed

 m sieve      = 1.1888 [kg] Mass of molecular sieve removed from Tank 4 from inspection notes

 m N2,per,m,sieve      = 0.167 [kg/kg] Sieve capacity for N2 at 78.92 Kelvin kg N2 per kg sieve from Yang and Burris paper

 m N2       = m N2,per,m,sieve · m sieve   Mass of N2 adsorbed in the sieve at 78.92 K

 T = 300              [K] Room Temperature

                                           m3
 V vac      = 100.3 [l] ·        0.001 ·        Volume of the vacuum space in the MVE 808 Tank
                                            l

              V vac
 v sp    =              Specific volume of N2 in the vacuum space after it desorbs from the sieve
              m N2

 P = P Nitrogen , T = T , v = v sp              Absolute pressure in the vacuum space once the sieve warms

                                                                psi
 P gauge      =       P – 101325 [Pa] ·         0.000145038 ·
                                                                Pa

 P atm       = 101325 [Pa] Atmospheric Pressure

 v sp,gas     = v Nitrogen , T = T , P = P atm        Specific volume of N2 at STP

 v sp,liq = v Nitrogen , P = P atm , x = 0           Specific volume of LN2 at 77.2 K

                  v sp,gas
 Ratio =                     Ratio of volume of N2 gas at STP to volume of LN2 at 77.2 K
                  v sp,liq




 SOLUTION
 Unit Settings: SI K Pa J mass deg
 mN2 = 0.1985 [kg]                                                          mN2,per,m,sieve = 0.167 [kg/kg]
 msieve = 1.189 [kg]                                                        P = 176189 [Pa]
 Patm = 101325 [Pa]                                                         Pgauge = 10.86 [psi]
 Ratio = 708.2                                                              T = 300 [K]
 vsp = 0.5052 [m3/kg]                                                       vsp,gas = 0.8786 [m3/kg]
 vsp,liq = 0.001241 [m3/kg]                                                 Vvac = 0.1003 [m3]

 No unit problems were detected.

 KEY VARIABLES
 Pgauge = 10.86 [psi]            Pressure in vacuum space in excess of atmospheric pressure. This is more than enought to buckle the inner
                                 tank wall.




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            Buckling Calculations for Inner Neck of MVE 808 Freezer

                                         m
D = 25         [in] ·    0.0254 ·                 Diameter of inner neck wall
                                         in

                                        m
L = 8        [in] ·     0.0254 ·                 Length of neck
                                        in

                                                 m
t w = 0.023 [in] ·           0.0254 ·                      Inner Neck Wall Thickness Dimension From Christopher Brand's Field notes 9/6/19 inspection
                                                 in

       D
R =           Radius is 1/2 Diameter
        2

T = 290         [K]

E = YoungsModulus Stainless AISI304 , T = T                                   Young's Modulus for 304 Stainless

n = PoissonsRatio Stainless AISI304 , T = T                              Poisson's Ratio for 304 Stainless

            Upper Bound Calculation for the Critical Pressure to buckle the neck. Assumes very stiff support at each end of the cylindrical nec

                                                            2.5
                                                      tw
                             2.42 · E ·
                                                      D
P cr,UB =
                                                                        0.5
                         2   0.75            L                     tw
               1 – n                ·            – 0.477 ·
                                         D                         D

                                                 psi
P cr,UB,E = P cr,UB ·        145038 ·                        Upper bound for critical pressure in psi
                                                 GPa




SOLUTION
Unit Settings: SI K Pa J mass deg
D = 0.635 [m]                                                     E = 199.8 [GPa]                                 L = 0.2032 [m]
n = 0.29                                                          Pcr,UB = 0.00004339 [GPa]                       Pcr,UB,E = 6.294 [psi]
R = 0.3175 [m]                                                    T = 290 [K]                                     tw = 0.0005842 [m]

No unit problems were detected.

KEY VARIABLES
Pcr,UB,E = 6.294 [psi]        Upper Bound for Pressure to Buckle the Inner Wall Neck




                                                                                      35
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            Buckling Calculations for Inner Main Wall of MVE 808 Freezer

                                                 m
D = 28.3125 [in] ·             0.0254 ·                 Diameter of inner main wall
                                                 in

                                       m
L = 20        [in] ·   0.0254 ·              Length of cylindrical main wall
                                       in

                                            m
t w = 0.038 [in] ·          0.0254 ·                  Wall Thickness
                                            in

       D
R =           Radius is 1/2 Diameter
        2

T = 290 [K]

E = YoungsModulus Stainless AISI304 , T = T                              Young's Modulus for 304 Stainless

n = PoissonsRatio Stainless AISI304 , T = T                         Poisson's Ratio for 304 Stainless

          Upper Bound Calculation for the Critical Pressure to buckle the main wall. Assumes very stiff support at each end of
the cylindrical wall

                                                       2.5
                                                 tw
                            2.42 · E ·
                                                 D
P cr,UB =
                                                                   0.5
                        2   0.75       L                      tw
               1 – n               ·        – 0.477 ·
                                       D                      D

                                            psi
P cr,UB,E = P cr,UB ·       145038 ·                    Upper bound for critical pressure in psi
                                            GPa




SOLUTION
Unit Settings: SI K Pa J mass deg
D = 0.7191 [m]                                               E = 199.8 [GPa]                                 L = 0.508 [m]
n = 0.29                                                     Pcr,UB = 0.00004947 [GPa]                       Pcr,UB,E = 7.175 [psi]
R = 0.3596 [m]                                               T = 290 [K]                                     tw = 0.0009652 [m]

No unit problems were detected.

KEY VARIABLES
Pcr,UB,E = 7.175 [psi]       Upper Bound for Pressure to Buckle the Main Inner Wall




                                                                              36
